Case 9:23-cr-80101-AMC Document 677 Entered on FLSD Docket 11/26/2024 Page 1 of 3
   USCA11 Case: 24-12311 Document: 81-1 Date Filed: 11/26/2024 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                          November 26, 2024
                                                                                                  JG
   Clerk - Southern District of Florida
   U.S. District Court                                                              Nov 26, 2024
   400 N MIAMI AVE
   MIAMI, FL 33128-1810
                                                                                                      MIAMI

   Appeal Number: 24-12311-SS
   Case Style: USA v. Donald Trump, et al
   District Court Docket No: 9:23-cr-80101-AMC

   The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
   11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
   motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of
   such order. No additional time shall be allowed for mailing."

   The dismissal order is for Appellee, Donald J. Trump, only. The appeal will proceed with
   the remaining Appellees.

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




   Enclosure(s)

                                                                 DIS-4 Multi-purpose dismissal letter
Case 9:23-cr-80101-AMC Document 677 Entered on FLSD Docket 11/26/2024 Page 2 of 3
   USCA11 Case: 24-12311 Document: 81-2 Date Filed: 11/26/2024 Page: 1 of 2




                                       In the
                    United States Court of Appeals
                            For the Eleventh Circuit

                              ____________________

                                    No. 24-12311
                              ____________________

           UNITED STATES OF AMERICA,
                                                         Plaintiﬀ-Appellant,
           versus
           DONALD J. TRUMP,
           WALTINE NAUTA,
           CARLOS DE OLIVEIRA,


                                                     Defendants-Appellees.


                              ____________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                        D.C. Docket No. 9:23-cr-80101-AMC
                              ____________________
Case 9:23-cr-80101-AMC Document 677 Entered on FLSD Docket 11/26/2024 Page 3 of 3
   USCA11 Case: 24-12311 Document: 81-2 Date Filed: 11/26/2024 Page: 2 of 2




           2                    Order of the Court               24-12311

           ORDER:
                Appellant’s motion to dismiss the appeal as to Donald J.
           Trump only is GRANTED.




                                                        DAVID J. SMITH
                                       Clerk of the United States Court of
                                         Appeals for the Eleventh Circuit

                         ENTERED FOR THE COURT - BY DIRECTION
